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1     YAAKOV M. ROTH
2     Acting Assistant Attorney General
      Civil Division
3
4     ANDREW I. WARDEN
      Assistant Branch Director
5     Federal Programs Branch, Civil Division
6
      ROBERT W. MEYER (NY Bar No. 5942842)
7     YURI S. FUCHS (CA Bar No. 300379)
8     Trial Attorneys
      Civil Division, Federal Programs Branch
9     United States Department of Justice
10    1100 L Street, NW, Washington, D.C. 20005
      Telephone: (202) 598-3869
11    Email: Yuri.S.Fuchs@usdoj.gov
12
      Counsel for Defendants
13
14                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16                                              CASE NO. 2:22-CV-1916-FWS-GJS
       ABDIRAHMAN ADEN KARIYE,
17     et al.,
18                                              DEFENDANTS’ CERTIFICATION
            Plaintiffs,                               OF SERVICE FOR
19                                              DECLARATION AND EXHIBITS
20     v.                                        IN SUPPORT OF PLAINTIFFS’
                                                  APPLICATION RE SEALING
21     ALEJANDRO MAYORKAS,                         PLAINTIFFS’ MOTION TO
22     Secretary of the U.S. Department of            COMPEL RE LAW
       Homeland Security, in his official         ENFORCEMENT PRIVILEGE
23     capacity, et al.,
24
            Defendants.
25
26
27
     Case 2:22-cv-01916-FWS-GJS       Document 115     Filed 05/06/25   Page 2 of 2 Page ID
                                           #:1854



1                                   PROOF OF SERVICE
2           On the date set forth below I served via electronic mail the documents filed in
3     this case at ECF No. 112 (and attachments) to counsel for Plaintiffs in this suit.
4
5     Dated: May 6, 2025
6                                            Respectfully submitted,
7
8                                            YAAKOV M. ROTH
                                             Acting Assistant Attorney General
9                                            Civil Division
10
                                             ANDREW I. WARDEN
11                                           Assistant Branch Director
12                                           Federal Programs Branch, Civil Division

13                                           /s/ Robert W. Meyer
14                                           ROBERT W. MEYER (NY Bar No. 5942842)
                                             YURI S. FUCHS (CA Bar No. 300379)
15                                           Trial Attorney
16                                           Civil Division, Federal Programs Branch
                                             United States Department of Justice
17                                           1100 L Street, NW, Washington, D.C. 20005
18                                           Telephone: (202) 305-0872
                                                    (202) 598-3869
19                                           Email: Robert.W.Meyer@usdoj.gov
20                                                    Yuri.S.Fuchs@usdoj.gov
21                                           Counsel for Defendants
22
23
24
25
26
27

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